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09/12/2023                            UNITED STATES JUDICIAL PANEL                             09/12/2023
                                                   on
                                       MULTIDISTRICT LITIGATION



   IN RE: REALPAGE, INC., RENTAL SOFTWARE
   ANTITRUST LITIGATION (NO. II)                                                                    MDL No. 3071



                                          (SEE ATTACHED SCHEDULE)



                                CONDITIONAL TRANSFER ORDER (CTO −5)



   On April 10, 2023, the Panel transferred 20 civil action(s) to the United States District Court for the Middle
   District of Tennessee for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
   _F.Supp.3d_ (J.P.M.L. 2023). Since that time, 15 additional action(s) have been transferred to the Middle
   District of Tennessee. With the consent of that court, all such actions have been assigned to the Honorable
   Waverly D. Crenshaw, Jr.

   It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
   actions previously transferred to the Middle District of Tennessee and assigned to Judge Crenshaw.

   Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
   the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Middle District of
   Tennessee for the reasons stated in the order of April 10, 2023, and, with the consent of that court, assigned
   to the Honorable Waverly D. Crenshaw, Jr.

   This order does not become effective until it is filed in the Office of the Clerk of the United States District
   Court for the Middle District of Tennessee. The transmittal of this order to said Clerk shall be stayed 7 days
   from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
   period, the stay will be continued until further order of the Panel.



                                                              FOR THE PANEL:


         Sep 11, 2023

                                                              Tiffaney D. Pete
                                                              Clerk of the Panel




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 IN RE: REALPAGE, INC., RENTAL SOFTWARE
 ANTITRUST LITIGATION (NO. II)                                                MDL No. 3071



                       SCHEDULE CTO−5 − TAG−ALONG ACTIONS



    DIST      DIV.       C.A.NO.      CASE CAPTION


 GEORGIA NORTHERN

    GAN        1        23−03813      Haynes v. RealPage, Inc.




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